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COMMONWEALTHPOF MASSACHUSETTS® 2°"

DEPARTMENT OF CORRECTION
DISCIPLINARY REPORT

 

 

 

 

- Inmate MURPHY, TIMOTHY J Commit No W112972 Location B-1FL IPS Main Office
Date 20210923 D- Report No 479273 Institution MC] CONCORD
Category Offense(s)
4 1/15/Introduction, distribution or transfer of any narcotic, controlled substance, illegal drug, unauthorized
drug or drug paraphernalia
1 1/20/Attempting to commit any of the above offenses, making plans to commit any of the above offenses

or aiding another person to commit any of the above offenses shall be considered the same as the
commission of the offense itself

2 2/11/Unauthorized use or possession of drugs, narcotics, illegal drugs, unauthorized drugs or drug
paraphernalia

2 2/24/Conduct which interferes with the security or orderly running of the institution

2 2/32/Attempting to commit any of the above offenses, making plans to commit any of the above offenses

or aiding another person to commit any of the above offenses shall be considered the same as the
commission of the offense itself

3 3/02/Receipt or possession of any contraband of items not authorized for retention by inmates
3 ‘ 3/27/Conduct which disrupts the normal operation of the facility or unit

4 4/01/Receipt or possession of contraband
4

4/11/Violating any departmental rule or regulation, or any other rule, regulation, or condition of an
institution or community based program

Description of Offense(s

On Thursday, September 23, 2021, at approximately 18:30, inmate Murphy, Timothy W112972, did violate the rules
and regulations of MCI-Concord by introducing synthetic cannabinoids into a correctional facility.

At approximately 18:30, |, IPS Officer McDonald distributed inmate legal mail to inmate Murphy, Timothy W112972. |
showed Murphy a medium sized envelope from the United States District Court, Office of the Court, United States
Court House, 595 Main Street, Room 502, Worcester, MA 01608, addressed to Timothy Murphy W112972, MCI-
Concord, P.O. Box 9106, Concord, MA 01742. Murphy signed the legal mail book accepting ownership of the
incoming mail and the mail was opened in the presence of Murphy. | then confiscated Murphy's legal documents due
to my suspicion of synthetic cannabinoids. | reported back to the IPS office and processed (9) 8.5 x 11 sheets of
paper. The (9) sheets of paper had a strong wax like feeling to the touch. | conducted a field test utilizing the NARK II
test kit in compliance with 103 DOC 525 policy.

The field test did yield positive results for synthetic cannabinoids. The remaining contraband was logged and secured

into evidence. Photographs were taken before and after testing. Murphy was advised that he would be receiving a
disciplinary report for his actions. All proper authorities notified.

Disciplinary Report Type: Formal

 

 

Has Inmate been placed on Awaiting Action Status Yes [X] No []

Referred to DA [] Yes [Xx] No Referred to DDU [] Yes [X] No
Reporting Staff Anthony J McDonald Date 20210923 Time 19:47
Days off Fri Sat
Shift 7x3
Supervisor Dennis P Breslin Date 20210924 Time 10:04

 

 

20210927 07:29
CUNTONWEALTHOF MASSACHUSETTS® °° ™

DEPARTMENT OF CORRECTION

 

 

 

 

 

 

 

DISCIPLINARY REPORT
. Inmate MURPHY, TIMOTHY J Commit No W112972 Location B-1FL IPS Main Office
Date 20210923 D- Report No 479273 Institution MCI CONCORD

Shift Commander David Burke Date 20210924 Time 10:04
Disciplinary Officer Ryan W Connor Date 20210927 Time 07:27
Results

Continuance Length Continuance Date Projected Date

Reviewing Authority Date Time

20210927 07:29

 

 
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DEPARTMENT OF CORRECTION
NOTICE OF DISCIPLINARY HEARING

TO: MURPHY, TIMOTHY J [.D.#: W112972

 

 

Re: Disciplinary Report #: 479273 Date : 20210927

 

You have been charged with a disciplinary offense(s) which has been referred to the Hearing Officer
for a hearing. A description of the offense(s) is contained in the attached Disciplinary Report. Your
disciplinary hearing has been scheduled for:

lo- ¢-

(Date & Time of Hearing)

A Spanish translation of the Inmate Discipline Regulation, 103 CMR 430.00, and related forms are
available in the inmate library.

La traducion en espafiol de la Regulacién De Disiplina, 103 CMR 430.00, y formularios acerca de
la disiplina se encuentran en la libreria de presos.

If you wish to be represented, request the presence of the reporting staff person, request other
witnesses, and/or request a taped hearing, please fill out the attached Request for
Representation/Witness Form. !f you wish to request evidence, please fill out the attached Request
for Evidence Form.

Notice Served By: Qed Co Date: . {. Time: > Ie

Inmate's Signature: Date: ___ ss t—~*éCTriMe”=:

“When an Inmate has been given copies of the above enumerated documents, but refuses to sign this acknowledgement, the
staff person who delivered the documents shall complete the following:

! personally delivered copies of this Notice, Disciplinary Report, Request for Representation/Witness
Form, and Request for Evidence Formto: |MURPHY, TIMOTHY J

(Inmate’s Name)
and he/she refused to sign.

Staff Person's Si :
a s Signature Date:

 

Print Name:

 

Time:

“The actual scheduling of the hearing may be delayed if circumstances require; however, you will be notified of the actual
date of the re-scheduted hearing at least twenty-four(24) hours in advance of that date.
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DEPARTMENT OF CORRECTION
REQUEST FOR REPRESENTATION AND/OR WITNESS FORM

 

Inmate MURPHY, TIMOTHY J Commitmentt# : W112972
DISCIPLINARY REPORT #: 479273 DATE OF HEARING: lo- L(- ol

You must complete this form and return it to the Disciplinary Officer within twenty-four (24) hours of
receiving it. Failure to do so may be considered as a waiver for representation and/or witnesses pursuant to

103 CMR 430.11(6).

   

1. If you wish to be represented by an attorney or a law student at the disciplinary hearing regarding the
attached disciplinary report, fill in the representative's name, address and phone number.

You are responsible for contacting this person and arranging for representation - see 103 CMR 430.12(1

NAME: ‘Honnrand PLAP

 

 

ADDRESS:
TELEPHONE:
2. Are you requesting a good cause continuance as outlined in 103 CMR 430.11(3)?
Yes KO No
3 If you do not speak English, you may request the use of the telephonic services. Do you request such services?
Yes ———_—_ No —& ——
Si usted no habla o entiende suficiente inglés puede pedir el uso de servicios de interpretaci6n telefonicos.
Requiere usted este tipo de servicio? Sl No ~~

4. If you do not understand the charges pending against you, you may request assistance from a staff member.
Do you request such assistance?
Yes No Yo

5. Do you wish to have the reporting staff person present at the disciplinary hearing?

Yes No rail Ih x7

6. Do you wish to call other witnesses at the disciplinary hearing? Yes No WU

 

If yes, please list the names of the witnesses you wish to call and provide a brief offer of proof of
expected testimony as required by 103 CMR 430.11.2(d) and 14(4) (Use additional paper if necessary).

Witness:

 

Testimony::

 

Witness:

 

Testimony:

 

7. Do you wish to have a taped hearing in accordance with the provisions of 103 CMR 430. 12 (4)?

Yes “ No

Received by Date/Time:

 
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DEPARTMENT OF CORRECTION

EVIDENCE REQUESTED BY INMATE FORM

 

TO: MURPHY, TIMOTHY J Commit # : W112972
RE: 479273 Date: 20210927

| understand that | will be served at a reasonable time prior to my disciplinary hearing with any documents which
may be used against me in accordance with 103 CMR 430.11 (1). ! wish to request access to the following
document(s) prior to my hearing which | believe will show me not guilty of the alleged infraction(s) contained in the
D-Report. | understand that, in the event the Disciplinary Officer at the institution where the alleged disciplinary
infraction(s) occurred denies my request for these document(s), it will be up to the Hearing Officer to decide if] am
entitled to the document(s) for the reason(s) | have stated. The Hearing Officer will determine if the requested
document(s) are relevant and not merely repetitive and whether they are central to the preparation of my defense.
The Hearing Officer may deny my request for document(s) if the Hearing Officer determines that producing them
would be hazardous in the particular situation. If the Hearing Officer decides that the document(s) need not be
provided, the reason(s) will be included in the written decision.

| am requesting the following specific document(s):_l, slediumig alien Pemalts 2-Urcn Toot 3, Readurg af

 

 

 

Please be advised that failure to return this form to the Disciplinary Officer within 24 hours of receiving
it may be considered as a waiver of request for any evidence.

Received by: Date: Time:

MCI CONCORD
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Case 4:20-cv-40043-TSH Document 56-1 Filed 10/18/21 Page 8 of 18

Timothy James Murphy W112972
MCI - Concord

PO Box 9106

965 Elm Street

Concord, MA 01742
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

. TIMOTHY JAMES MURPHY,
Plaintiff,

Civ. Act. No.
20-40043-TSH

ve

YARD, Officer, Old Colony Correctional
Facility, MARY. FORTUNE, Mental Health
Professional, Old Colony Correctional Facility,
CAPTAIN PASCUCCI, WELLPATH MEDICAL
LT. MELLOW, SGT. AMARAL, .

Defendants.

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ORDER
September 21, 2021

| HILLMAN, J.
Background
" Plaintiff, Timothy James Murphy (“Murphy”), proceeding pro se, has filed this action
against “Yard” who Murphy refers to as a C/O', Mary Fortune (“Fortune”), a mental health
professional at Old Colony Correctional Facility (‘Old Colony Facility”), Captain Pascucci (Cpt.
Pascucci”), Wellpath Medical (“Wellpath” and together with Fortune, the “Weilpath Defendants”),
‘Lt. Mellow and Sgt. Amaral (together with Cpt. Pascucci and Lt. Mellow, the “acility

Defendants”) under 42 U.S.C. § 1983 (“Section 1983”) alleging deprivation of his Eighth

 

' Murphy has not filed evidence of proof of service on “Yard.” The Court notes that throughout his
pleadings, rather than referring to given individuals by name, Murphy has sometimes referred to them based on the
physical location where they work at Old Colony Correctional Facility. Therefore, it is not clear to the Court that
“Yard” is the name of a proposed defendant as opposed to the location where a proposed unnamed defendant works.
In any event, because the time for effecting service on this individual has long passed, Murphy’s claims against
“Yard” are hereby dismissed. , ,
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Amendment rights. More specifically, Murphy alleges that the Defendants’ failure to act on his
report that he and his cellmate had engaged in a verbal altercation led to his being assaulted and
constituted deliberate indifference which led to him suffering personal injuries which required him
to be transported to Morton Hospital. Murphy further alleges that upon his return from Morton
Hospital, the Facility Defendants violated his Eighth Amendment rights by: denying him access
to aclean cell, the shower, a change of clothes and hygienic bathroom supplies after he was placed
in medical recuperation and by placing him in punitive segregation for refusing to sign a waiver
(Cpt. Pascucci and Sgt. Amaral); and Lt. Mellow refused to allow him to make calls to family, an
elderly abuse line and various legal assistance programs, and made statements in front of other
inmates that he was an informant placing him in danger. As to the Wellpath Defendants: in addition
to alleging that Fortune did not act on his report that his cellmate was a threat to him, Murphy
alleges that the medical professionals — at Morton Hospital made specific follow up
recommendations to treat his injuries when he was returned to the Old Colony Facility but
Wellpath failed to properly follow-up and has failed to provide him with proper medical .
treatment.? |
This Memorandum of Decision and Order addresses: (1) Peter Pascucci, Scott Mello, and
_ Michael Amaral’s Motion To Dismiss Complaint (Docket No. 34); and (2) Medical Defendants’
Motion To Dismiss For Failure to State a Claim and Motion for Summary Judgment For Failure
- to Exhaust Administrative Remedies (Docket No. 43). For the reasons set forth below, those

motions are granted.

 

2 Murphy alleged additional claims against various named and unnamed individuals who work at the Old
Colony Facility, including Superintendent Kennedy, LP.S. (the Inner Perimeter Security Team), unknown officers
and members of the medical staff. Because those individuals have previously been dismissed from this action, 1 will
not include any of the allegations asserted against them in the factual summary or my legal analysis.

2
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Standard of Review

To survive a 12(b)(6) motion to dismiss for failure to state a claim upon which relief can
-be granted, a complaint must evince the requisite factual detail to establish a plausible claim that
“allows the court to draw the reasonable inference that the defendant is liable for the misconduct
alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937 (2009). When deciding a motion to
dismiss, the court is obligated to accept all of the facts alleged in the complaint-as true, however,
plaintiff still carties the burden of directing the court to the appropriate substantive law that entitles
it to the relief it seeks. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 127 S, Ct. 1955 (2007);

Langadinos v. Am. Airlines, Inc., 199 F.3d 68, 69 (1* Cir. 2000).

Facts?

Murphy is a state prisoner in custody of the Department of Correction (“DOC”). At all
times relevant to this action, he was housed at the Old Colony Facility. Wellpath is a privately
owned company that is under contract with DOC to provide comprehensive medical, dental,
mental health and forensic mental health services for inmates incarcerated in DOC facilities.
Fortune is a social worker who was employed by Wellpath at the Old Colony Facility in
December 2019.

On December 11, 2019, Murphy spoke with Fortune sometime between 3:30 and 4:00
p.m. and informed her that he feared that there was going to be “trouble ” and he was worried
because he did not want to hurt anyone. After the meeting, Fortune submitted a report regarding

Murphy’s concerns. Later that evening, between the hours of 5:30 and 6:00 pm, Murphy was

 

3 The Court’s statement of Facts summarizes the relevant factual allegations asserted in Murphy’s
Amended Complaint. In his opposition, Murphy has supplemented his factual allegations which relate to the
substantive claims he asserts against-all Defendants and has included additional factual allegations and claims
against other individuals. For the reasons set forth below, the Court is striking Murphy’s opposition as non-
responsive and therefore, will not consider the additional factual allegations asserted therein.

3 .
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_ called in to speak with an Inner Perimeter Security (“IPS”) officer regarding his concern for his
safety. During the meeting with the IPS officer, Murphy explained that he was having issues
with his cellmate, When the IPS officer asked him if he feared for his life, Murphy indicated that
he did. The PPS officer directed Murphy to return to his cell and told him that the matter would ©
be investigated.
| Murphy returned to his cell between 8:45 and 9:15 pm. at which time he had an

_altercation with inmate Richard Vinton (“Vinton”) who was not his cellmate (V inton was in
Murphy’s cell with Murphy’s cellmate just prior to the altercation). Murphy was injured during
the altercation with Vinton and was sent to Morton Hospital for treatment. X-rays were taken of
Murphy’s back, chest and hand which revealed rib fractures and fractures to his hand. It was
recommended that he be seen again in two weeks.

On December 12, 2019, upon his return from Morton Hospital, Murphy was placed in a
medical recuperation area of the Old Colony Facility. For a period of eight to nine days following
such placement, Cpt. Pascucci permitted Sgt. Amaral to deny Murphy the ability to have a clean
cell, showers, changes in clothing, and hygenic bathroom supplies. During this time, Cpt. Pascucci .
also permitted Sgt. Amaral to try to force Murphy to sign a waiver stating that Murphy’s life was
not in danger, but Murphy declined to do so.

On December 20, 2019, Cpt. Pascucci ordered Sgt. Amaral to force Murphy to sign a
waiver, but Murphy stated that his life was in danger and so he declined. Murphy was then placed
into a segregation unit. From December 27, 2019 through January 2, 2020, Lt. Mello refused to
allow Murphy to make family and legal telephone calls, or telephone calls to an elderly abuse line,

Lt. Mello also stood outside of Murphy’s cell door and stated loudly that Murphy was an informant
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and made other comments for the purpose of inciting other inmates to harm Murphy. Additionaily,
Lt. Mello issued Murphy an offense report for having refused a housing assignment.

On January 20, 2020, x-rays were taken at Massachusetts Correctional Institute at
Concord, MA (“MCI-Concord”) where Murphy had been transferred. The x-rays revealed no
fractures. On January 24, 2020, Murphy was sent to Boston Medical Center (“BMC”) fora
follow-up appointment. BMC clinicians determined that additional information (which was not
sent with Murphy to the appointment) was required that in order to determine what, if any,
treatment was necessary. Two weeks later, Murphy was sent back to BMC for a follow-up
appointment at which tine his electronic medical record was provided to BMC. Because the x-
rays taken at MCI Concord on January 20" were read as negative for fractures, Wellpath stopped
providing treatment to Murphy.

On April 22, 2020, Murphy was seen on-site at the prison for complaints of chest pain. A
CT scan was recommended. According to Murphy, the scan revealed rib fractures. To date,
Plaintiff has received x-rays and CT scans on two occasions. According to Murphy, the tests
have resulted in conflicting results as to whether he had any fractures. On May 4, 2020, in
response to Murphy’s “sick call slip” complaining of chest pains, he was seen by a nurse
practitioner who performed an EKG and provided him with an inhaler and Tylenol. Murphy was
told he could not be transported to BMC due to the coronavirus pandemic.

Murphy did not allege that he had exhausted his administrative remedies pursuant to the
Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a) et seq. prior to filing the instant

action.
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Discussion

The Facility Defendants seek to dismiss the complaint pursuant to Fed.R.Civ.P. 12(b)(6)
for failure to state a claim upon which relief may be granted. More specifically, the Facility
Defendants assert that Murphy’s complaint must be dismissed because he failed to exhaust his
administrative remedies as required by the PLRA. The Facility Defendants further allege that
Murphy’s claims must be dismissed because he has failed to allege sufficient facts which would
establish that they were deliberately indifferent to his health or safety and therefore, has failed to
state a plausible claim for violation of his Eighth Amendment rights. The Wellpath Defendants
seek dismissal of Murphy’s claims pursuant to Rule 12(6)(6) on the grounds that he has failed to
state plausible claims that they violated his Eight Amendment rights by denying him adequate
medical care and subjecting him to cruel and unusual punishment. The Wellpath Defendants also
seek summary judgment on Murphy’s claims as the result of his failure to exhaust his
administrative remedies under the PLRA.

After having been granted multiple extensions, Murphy file his “opposition” to the
Defendants’ motions on June 2, 2021. However, what Murphy filed in response is an entirely
new complaint containing new factual allegations against the Defendants as well as other
individuals who have previously been dismissed. However, Murphy cannot avoid dismissal of
his complaint by asserting new facts and legal claims in his opposition that cure the deficiencies
in his original pleading. Moreover, to state the obvious, he cannot revive claims against
individuals that have previously been dismissed and cannot assert claims against individuals who
have never previously been parties to the action. See Willitts v. Life Ins. Co. of N. Am., No. 18-

CV-11908-ADB, 2021 WL 735784, at *4 (D. Mass. Feb. 25, 2021)(citing a string of cases for
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the proposition that an opposition to a motion to dismiss is not the place for new factual
allegations).

Under the circumstances, the Court is striking Murphy’s opposition. Defendants’ motions
to dismiss Murphy’s Amended Complaint are granted for the reasons stated in their respective -
memorandum, i.e., he has failed to state plausible Section 1983 claims against them for violation
of his Eighth Amendment rights.‘ The dismissal is without prejudice. The Court will give
| Murphy one final opportunity to amend his pleading to state claims against these Defendants,
that is, Fortune, Wellpath, Cpt. Pascucci, Sgt. Amaral and Lt. Mello. Murphy shall file an
amended complaint that complies with this Order on or before October 29, 2021 or his claims
shall be deemed dismissed with prejudice.

Conclusion

It Is Hereby Ordered That:

1. Murphy’s opposition to the Defendants’ motions to dismiss (Docket No. 50) is hereby
stricken;

2. Peter Pascucci, Scott Mello, and Michael Amaral’s Motion To Dismiss Complaint
(Docket No. 34) is granted, without prejudice; and |

3. Medical Defendants’ Motion.To Dismiss For Failure to State a Claim and Motion for
Summary Judgment For Failure to Exhaust Administrative Remedies (Docket No. 43), is granted,
as to the motion to dismiss, without prejudice, and denied as moot as to the motion for summary

judgment.

 

4 Since exhaustion under the PLRA is an affirmative defense, Murphy was not required to affirmatively
plead that he had exhausted his administrative remedies and the Court does not find it necessary to address the
Defendants’ arguments on this issue.
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If Plaintiff, Timothy J. Murphy, fails to file an amended complaint that complies with this

Order on or before October 29, 2021, his claims shall be deemed dismissed with prejudice.

SO ORDERED. ;

/s/ Timothy S. Hillman
TimotuHy S. HILLMAN
UNITED STATES DISTRICT JUDGE
Case 4:20-cv-40043-TSH: .Document 56-1 Filed 10/18/21 Page 17 of 18

 

 

 

 

 

 

 

 

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| AECEIVED | . FORM “A”
| SEP 22200
‘ f COMMONWEALTH OF MASSACHUSETTS
j DEPARTMENT OF CORRECTION
Co INMATE GRIEVANCE FORM | y 21,2621
INMATE’S NAME: | INMATE’S #: D
LCimothy Munghy : W292 te
INSTITUTION = ve , DATE OF INCIDENT:
MCL Concord Apat. 23,2021

 

 

INSTRUCTIONS: |

1. Refer to 103 CMR 491, Inmate Grievance Policy.

2. InBlock B, give a brief and understandable summary of your complaint/issue. .
3. List any actions you may have taken to resolve this matter in Block C. Be sure to include the identity of staff

_ Members you have contacted.

4. Provide a Requested Remedy in Block D.

 

A. When filing an Emergency Grievance check Emergency.

EMERGENCY

 

B. Givea brief understandable summary of your complaint/issue. Additional paper may be used, if
Necessary.

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C. List any action taken to address/resolve this matter. Include the identity of staff members you have

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D. Provide your Requested Remedy.

 
 

 
 

  

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Inmate’s Signature sLianathy |. Muaply . Date a) at-/os2l

Staff Recipient : Date

 

 

 

 

*DENIED GRIEVANCES MAY BE APPEALED TO THE REVIEWING AUTHORITY WITHIN 10 BUSINESS DAYS.*
(umate receipts/responses will be generated via the Inmate Management System.)
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COMMONWEALTH OF MASSACHUSETTS
DEPARTMENT OF CORRECTION

INMATE GRIEVANCE FORM
FORWARD TO INSTITUTIONAL GRIEVANCE COORDINATOR (IGC)

 

 

 

Name MURPHY TIMOTHY J Grievance# 114503 Institution MCL CONCORD
; D
Commit No. W112972 Housing L-2 Date Of 20210923  Gravence 20210928
Informal filed Wo
Complaint Major Breach in Security and Manipulating Legal Mail entering this

institution. Recieved legal Court Documents from U § District Court of which I
anticipated recieving, where papers from inside the envelope tested positive,
according to Officer McDonald, away from my view. There were two IPS Officer who
interviewed me accusing me of knowingly recieving the Drug K-2 within the Legal
Mail from Clerk of Courts.

I believe Officer McDonald put the Drug K-2 on the legal mail away from my
view when he brought the court documents into his office.

 

Remed
Requested Cease and Desist all action and allegation on the above matter.

Staff
Recipient

Staff
Involved

Travis Roxanne cPpo III

McDonald Anthony J IPS

Signature

 

 

RECEIPT BY INSTITUTIONAL GRIEVANCE COORDINATOR
Date Received 20210930 Decision Date

Signature

 

Final Decision

 

Decision

 

Signature Date

 

Denied grievances may be appealed to the Superintendent within 10 working days of Institutional Grievance Coordinators decision.

 

INMATE RECEIPT

Name MURPHY TIMOTHY J Institution MCI CONCORD

 

 

Commit No. W112972 Grievance# 114503 Date Received 20210930

Signature. Travis Roxanne CPO III

 
